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           June 22, 2023

           By ECF

           The Honorable Amit P. Mehta
           U.S. District Court for the District of Columbia
           333 Constitution Avenue N.W.
           Washington, D.C. 20001


           Re:       District of Columbia v. Proud Boys International L.L.C. et al.,
                     Case No. 1:21-cv-03267-APM

           Dear Judge Mehta:

                  We write on behalf of Plaintiff District of Columbia (the “District”) in response to
           Defendant Thomas E. Caldwell’s motion, filed June 9, 2023, to join his Co-Defendants’
           previously filed motions to dismiss (D.I. 209).1
                  As an initial matter, Defendant Caldwell cannot now join those motions because
           they have already been decided (D.I. 171). The Court denied the moving Defendants’
           motions to dismiss the District’s civil conspiracy counts for assault, battery, and


           1
                 Caldwell’s motion to join the previously filed motions to dismiss comes approximately 14 months after
                 the Amended Complaint was filed, see D.I. 94, and approximately one year after responses to the
                 Amended Complaint were due under the Court’s modified consolidated briefing schedule, see D.I.
                 103. In fact, Caldwell filed an answer to the Amended Complaint at that time. D.I. 117.
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                                                                                                             2


intentional infliction of emotional distress, and Caldwell offers no basis on which the
Court can or should reconsider that decision.2

       Moreover, for the reasons stated in the District’s Omnibus Opposition to
Defendants’ Motions to Dismiss (D.I. 145), the arguments in the motions Caldwell joins
are without merit and should be dismissed. In lieu of filing additional briefing in
opposition, we direct the Court’s attention to the Amended Complaint’s allegations of
Defendant Caldwell’s involvement in the larger conspiracy. For example, the Amended
Complaint alleges:

     •   Caldwell is an affiliate or member of the Oath Keepers. Am. Compl. ¶ 16.

     •   Caldwell was criminally charged and indicted for his role in perpetrating the
         attack on the Capitol on January 6, 2021.3 Id.

     •   On November 9, 2020, Caldwell contacted Oath Keepers leader Defendant
         Stewart Rhodes with the results of a lengthy reconnaissance trip he had taken to
         the District and to coordinate for an upcoming “op.” Id. ¶ 115.

     •   On November 14 and 15, 2020, Caldwell and other Oath Keepers members and
         Defendants met at Caldwell’s Virginia farmhouse, where plans to forcibly oppose
         the lawful transfer of presidential power were discussed. Id. ¶ 117.

     •   On November 23, 2020, Caldwell sent a text message to Defendant Watkins
         stating, among other things: “I believe we will have to get violent to stop this,
         especially the antifa maggots who are sure to come out en masse even if we get
         the Prez for 4 more years. . . . we may have to fight next time.” Id. ¶ 122.

     •   Caldwell coordinated travel to the Washington, D.C. metropolitan area with other
         Oath Keepers Defendants. Id. ¶¶ 186, 190, 192-93.

     •   On January 1, 2021, Caldwell posted on social media that he would no longer
         make efforts to act peacefully. Id. ¶ 213.

     •   On January 2, 2021, Caldwell sent messages to contacts seeking boats that could
         quickly ferry Quick Response Teams and “heavy weapons” across the Potomac if
         the need arose. Id. ¶ 196.



2
     See, e.g., Ferrer v. CareFirst, Inc., 278 F. Supp. 3d 330, 332 (D.D.C. 2017) (reconsideration of non-
     final decision may be granted only when movant shows intervening change in law, newly discovered
     evidence, or clear error in the initial order).
3
     A jury has since convicted Caldwell of obstruction of an official proceeding of Congress and
     tampering with documents or proceedings. See Verdict Form, United States v. Rhodes, No. 22-cr-15-
     APM, D.I. 410 at 4, 7.
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   •   On January 5, 2021, Caldwell dropped off firearms, ammunition, and related gear
       with the Quick Reaction Force teams at the Comfort Inn in Ballston, Virginia.
       Id. ¶ 244.

   •   Caldwell mapped out a route between the Capitol building and an address one
       block from the Comfort Inn Ballston, and, on January 5, 2021, drove into the
       District, around the Capitol, and back to the Comfort Inn Ballston in what he
       described as a reconnaissance mission. Id. ¶ 247.

   •   On January 6, 2021, to prepare for the violent acts they had been planning,
       Caldwell and other Defendants equipped themselves with communication devices
       and donned reinforced vests, helmets, and goggles. Id. ¶ 301.

   •   During the attack on the Capitol on January 6, 2021, Caldwell texted Defendant
       Watkins: “Where are you? Pence has punked out. We are screwed. . . . I am
       here at the dry fountain to the left of the Capitol.” Id. ¶ 330.

   •   During the attack on the Capitol on January 6, 2021, Caldwell sent a social media
       message stating: “We are surging forward. Doors breached.” Id. ¶ 364.

   •   During the attack on the Capitol on January 6, 2021, Caldwell posted a Facebook
       message that read, “Inside.” Id. ¶ 410.

        The above allegations, as well as additional allegations included and incorporated
in the Amended Complaint, are more than sufficient to state claims against Defendant
Caldwell.

                                             Respectfully submitted,

                                             /s/ Jeannie Rhee
                                             Jeannie Rhee
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                            CERTIFICATE OF SERVICE

        I hereby certify that, on June 22, 2023, I caused the foregoing letter to be
electronically filed using the Court’s CM/ECF system, and service was effected
electronically pursuant to Local Rule 5.4(d) to all counsel of record. Remaining defendants
have been served via first class mail.




                                                   /s/ Jeannie S. Rhee

                                                   Jeannie S. Rhee
